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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          4:10CR3052-2
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )          ORDER
MY TAN CAO,                                  )
                                             )
                     Defendant.              )

      On the joint oral motion of counsel for the plaintiff and the defendant, and with the
agreement of the Probation Officer,

       IT IS ORDERED that the petition for offender under supervision (filing 162) is
dismissed without prejudice. The March 6, 2015 violation of supervised release hearing is
canceled.

       Dated March 4, 2015.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          Senior United States District Judge
